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                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530

                                                     September 27, 2021

Michelle M. Sweet, Esq.                       Eugene Gorokhov, Esq.
Federal Public Defender                       Burnham & Gorokhov, PLLC
District of Oregon                            1424 K Street NW, Suite 500
101 SW Main Street, Suite 1700                Washington, D.C. 20005
Portland, OR 97204

      Re:       United States v. Jonathan Peter Klein & Matthew Leland Klein
                Case No. 21-CR-237

Dear Counsel:

       As part of our ongoing discovery production in this case, we produced the following
information on September 24, 2021:

            1. 4,044 files (over one terabyte) consisting of U.S. Capitol Police (“USCP”) Closed
               Circuit Video (“CCV”) footage from 118 cameras has been shared to the defense
               instance of evidence.com. The contents of footage being shared includes video
               from the interior of the U.S. Capitol Visitor Center and from the Capitol grounds.
               These files are designated Sensitive under the protective order. Additional footage
               will be provided on a rolling basis, as we ingest it into our own instance of
               evidence.com.

            2. Twenty files that are exhibits to previously produced USCP OPR reports, and a
               corresponding index, have been shared via USAfx and you should have received a
               notification via email. Any applicable sensitivity designations are reflected in the
               index. Additional exhibits will be provided on a rolling basis as we continue to
               ingest and quality-check them.

            3. Forty-two files that consist of MPD internal investigation reports and exhibits, and
               a corresponding index, have been shared via a second, separate USAfx production,
               and you should have received a notification via email. These reports and exhibits
               are unredacted and thus designated Highly Sensitive under the protective order.
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        The Federal Public Defender for the District of Columbia (“FPD”) has agreed to serve as
the Discovery Liaison for defense counsel in Capitol Breach cases. FPD is currently reviewing the
various features of evidence.com and testing out the capabilities of the program with sample data.
Within the next two weeks, FPD will be sending out information to defense counsel that includes
a point-of-contact for discovery-related inquiries, the procedures to follow for obtaining a license
to access evidence.com, and a quick start guide for defense counsel to use with evidence.com.

        It has come to our attention that there are sensitivities that must be addressed prior to large
scale disclosure of body-worn-camera footage. We are working diligently to resolve these issues
and in the interim we have produced a sample of fifty body-worn-camera files to FPD’s instance
of evidence.com. This sample will allow our technological teams to discuss the necessary
infrastructure and workflows that need to be implemented. Ultimately, we intend to produce the
majority of body-worn-camera footage with the least restrictive applicable sensitivity
designations, if any, in order to facilitate defendant review.

       In the near future, we expect to provide tools that will assist your review of the voluminous
video footage described above, to include:

       1. Camera maps for USCP CCV;
       2. Our work product, consisting of a spreadsheet and related zone maps, identifying body-
          worn-camera footage by agency, officer, video start time, a summary of events, and
          location of the camera in 15-minute increments; and
       3. Global Positioning Satellite information for Metropolitan Police Department radios,
          which may be of some assistance in identifying officers whose body-worn-cameras
          were recording at a particular time and location.

        I will forward additional discovery as it becomes available. If you have any questions or
if you fail to receive two separate USAfx invitations in connection with this production, please
feel free to contact me.

                                                       Sincerely,

                                                       s/ Christopher K. Veatch
                                                       CHRISTOPHER K. VEATCH
                                                       Assistant United States Attorney




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